Case 2:13-cr-00607-JFB-AYS Document 882-3 Filed 07/16/20 Page 1 of 3 PageID #: 25511




                          EXHIBIT C
        Case 2:13-cr-00607-JFB-AYS     Document 882-3
                                H. XI AYUNTAMIENTO        Filed 07/16/20
                                                   CONSTITUCIONAL            Page 2 of 3 PageID #: 25512
                                                                  DE LOS CABOS
                                                                  BAJA CALIFORNIA SUR
                                                              TESORERIA GENERAL MUNICIPAL
                                                                 DIRECCION DE CATASTRO
                                                                                                          Avalúo Pericial No.         263 - 2014
                                                                                          San José del Cabo, B. C. S., a   11 de Abril del 2014
Para los efectos de lo que disponen los artículos 35 al 42 y demás aplicables de la ley de Hacienda para El Municipio de los Cabos, Baja California Sur,
se practico con esta fecha el Avalúo Pericial correspondiente al Inmueble ubicado en:




                                                                              lote No. 55, Sub-Régimen de Propiedad en Condominio No. 2" Sunset Hill ",
                                                                                  Dentro del Régimen Maestro Denominado Diamante Cabo San luc s




                         Actual :                402093001001 -002055                         Población: Cabo San luces, B. C. S.
   Clave Catastral:
                        .Anterior                                                1
                                                                       1.- ANTECEDENTES
                            Solicitante: The Bank Of New York Mellan, S. A./ Diamante Cabo San lucos, S. de R. L. de C. V.
                       Perito Valuador: Arq. Víctor Palacios Garduño                                                       No. De Registro:             5
             Propietario del Inmueble: The Bank Of New York Mellan, S. A. / Diamante Cabo San Lucos, S. de R. L. de C. V.
                                                            11.- DESCRIPCION GENERAL DEL PREDIO
CARACTERISTICAS:
     Clasificación de la Zona:          Densidad de la Construcción:                          Densidad de Población:               Tipa de Construcción:
                                                     D        Alto                              D Alto                           Predominante en la Calle:
           Residencial Turifico                      D       Medio                              D Medio
                                                              Bajo                              0 Bajo                                        M-S-B
Servicios Públicos Municipales:
    Agua            Luz             Drenaje                    Pavimento             Banquetas             Alumbrado            Teléfono
    0               0               0                             0                       0                    0                      0

Sup. Total Según Documentos:                     2,186.59                                                                       m.2
Medidas y Colindancias:




 Uso del
                                                                                                            Avaluo N .           263 - 2014
CaseCROQUIS DE LOCALIZACION :
     2:13-cr-00607-JFB-AYS                                                          .
                              Document 882-3 Filed 07/16/20 Page 3 of 3 PageID' #: 25513




                                                         IV.- AVALUO FISICO
     OBSERVACIONES:
  Ef Presente Valor de Operación, mismo que se Declara en el Presente Avaluo, Se ve Afectado por el Valor Inmobiliario, asf mismo se
  toma a Valor de Operación según Aviso Preventivo, Elaborado por el Lic. Armando Antonio Aguilar Mondragón, Notario Público No. 1
  en donde se Expresa Ambas Partes el Valor Pactado del Inmueble de$ 2,653, 1B0.00 pesos.
  A) DEL TERRENO :
       Partes que Integran el Lote
       Sup. en m2                                                     Valor Unitario                                     Valor Parcial
                          2, 186.59   M2                       $         856.00                        $                  1,871,721.04
   lnd. Cond. 2S. H.                  M2                                  428.00                       $
  lnd. Cond. Maestro
                           988.08                              $
                                                                                                         - - -422,898.24     -----
                                                                          428.00                       $
                           843.38     M2
                                      M2
                                                               $
                                                               $
                                                                                                         - - -360,966.64     -----
                                                                                                       $
                                      M2
                                                                                                         --------
                                                               $                                       $
                                                                             VALOR DEL TERRENO         s----=2,......,,6-=55=-=,5=85=-=.9., . . 2- -
  B) DE LAS INSTALACIONES ESPECIALES:
      Concepto          Cantidad             Unidad                   Valor Unitario
                                                2
                                               m.              $                                       $
                                                                 -------                                --------
                                               m.2             $
                                                                 -------                               $
                                                                                                        --------
                                                2
                                               m.              $                                       $
                                                                 -------                                 --------
                                               m.2             $                                       $
                                                                  VALOR DE LAS INSTALACIONES           $--------
                                                         V. RESUMEN AVALUO

                                                                        Valor del Terreno: $     2,655,585.92
                                                    Valor de las Instalaciones Especiales: $
                                                                            VAL ORACTUAL   $
                                                                                             - ---------
                                                                                                2,655,585.92
               DOS MILLONES SEISCIENTOS CINCUENTA Y INCO Mil QUINIENTOS OCHENTA Y CINCO PESOS 92/100 M.N.
            Fecha:         11 de Abril del 2014
